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     Attorneys for Plaintiffs AIT Worldwide
6    Logistics, Inc. and Cathay Industries USA, Inc.
7
                            UNITED STATES DISTRICT COURT
8                           CENTRAL DISTRICT OF CALIFORNIA
9                                                         2:22-cv-2630
     AIT WORLDWIDE LOGISTICS, INC.,            Case No.
10   and CATHAY INDUSTRIES USA INC.,
11                                             IN ADMIRALTY
              Plaintiffs,
12      vs.
                                      VERIFIED COMPLAINT OF AIT
13
     HSIN SILK ROAD SHIPPING LTD. and WORLDWIDE LOGISTICS, INC. AND
14   HSIN SILK ROAD SHIPPING USA,     CATHAY INDUSTRIES USA, INC.
     INC., in personam,
15                                    SUPP. ADMIRALTY RULE D
             And
16

17   A Cargo of Household Goods and Non-
     Hazardous Pigment Oxide Transported
18   from Ningbo, China to Los Angeles,
     California, pursuant to Bills of Lading
19
     Nos. HSRNGB2021030018,
20   HSRNGB2021030019,
     HSRNGB2021030020,
21   HSRNGB2021030104,
22   HSRNGB2021030105,
     HSRNGB2021030108,
23   HSRNGB2021030116, and
     HSRNGB2021030117, dated and
24
     shipped on board on October 7, 2021,
25   in rem,

26            Defendants.
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                                     VERIFIED COMPLAINT
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2       NOW COME the plaintiffs AIT WORLDWIDE LOGISTICS, INC. (“AIT”) and
3    CATHAY INDUSTRIES USA INC. (“Cathay”) (collectively, “Plaintiffs”), by their
4    undersigned attorneys, and for their Verified Complaint allege as follows:
5                              JURISDICTION AND VENUE
6       1. This is an action within the admiralty jurisdiction of this court pursuant to
7    28 U.S.C. §1331 and 28 U.S.C. §1331(1), and is an admiralty or maritime claim
8    within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure. Pursuant
9    to 28 U.S.C. § 1333, the district court has original and exclusive jurisdiction over
10   this matter.
11      2. Admiralty jurisdiction is based on bills of lading identified below, which are
12   maritime contracts for the transport of marine intermodal containers from China
13   to the United States, and cargo loaded in said containers, which is maritime
14   property. This maritime action is to recover containers loaded with Plaintiffs’
15   cargo and discharged at the Port of Los Angeles, California, which have been
16   unlawfully detained by defendants. Further, this is an action for conversion and
17   breach of the ocean bills of lading for the subject containers.
18      3. This is a petitory and possessory action under the Federal Rules of Civil
19   Procedure, Supplemental Rules for Admiralty or Maritime Claims and Asset
20   Forfeiture Actions, Rule D. Petitory and possessory actions may be used to
21   recover cargo covered by a bill of lading. Thypin Steel Co. v. Asoma Corp., 215
22   F. 3d 273, 282-83 (2nd Cir. 2000); Matsuda v. Wada, 128 F. Supp. 2d 659, 670
23   (D. Haw. 2000). This Court also has the power to declare rights and liabilities
24   pursuant to the Federal Declaratory Act, 28 U.S.C. §2201.
25         4. This Court has supplemental jurisdiction over common law claims
26   pursuant to 28 U.S.C. §1367.
27         5. Venue is proper in this Court because the containerized cargo, listed in
28   the Bills of Lading and identified below, is physically located within the Central
                                               2
                                      VERIFIED COMPLAINT
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1    District of California. In addition, any and all unlawful charges claimed by
2    defendants resulted from activities at the Port of Los Angeles, California, within
3    this district. Venue is proper in the United States District Court for the Central
4    District of California pursuant to 28 U.S.C. §1391(b)(2).
5                                       THE PARTIES
6          6. Plaintiff AIT is a corporation organized under the laws of Illinois, United
7    States, with its principal place of business at Itasca, Illinois.
8          7. Plaintiff Cathay is a corporation organized under the laws of Nevada,
9    United States, with its principal place of business at Bartlett, Illinois.
10         8. Defendant HSIN Silk Road Shipping Ltd. is, upon information and
11   belief, a foreign business entity located in Hong Kong (“HSIN”).
12         9. Defendant HSIN Silk Road Shipping USA, Inc. is a Texas corporation
13   with a principal place of business in Sugar Land, Texas (“HSIN USA”).
14                                          FACTS
15         10.    AIT is the consignee of 39-intermodal marine containers transported
16   over navigable waters aboard the M/V Nomadic Milde (the “Vessel”) pursuant to
17   six ocean bills of lading issued by Defendants, true and accurate copies of which
18   are submitted herewith as Exhibit 1 and made a part hereof (“AIT Containers”).
19         11.    Cathay is the consignee of 10-intermodal marine containers
20   transported over navigable waters aboard the Vessel pursuant to two ocean bills
21   of lading issued by defendants, true and accurate copies of which are submitted
22   herewith as Exhibit 2 and made a part hereof (“Cathay Containers”).
23         12.    The 49-intermodal marine containers (39 AIT-containers and 10-
24   Cathay containers identified in the following table, hereafter, “Containers”) were
25   loaded with cargo consisting of household goods and non-hazardous pigment
26   oxide identified in bills of lading issued by Defendants (hereafter “Cargo”):
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                                        VERIFIED COMPLAINT
 Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 4 of 30 Page ID #:4




1     Bill of Lading         Container                     Description    of
                                                           goods
2                                                          10,400 cartons of
      HSRNGB2021030018       CICU2267693/HSR210554
                             L YGU6136595/HSR210555        ceramic bowls
3
                             L YGU6136023/HSR210553
4                            LYGU6136450/HSR210557
5
                             LYGU6136698/HSR210556
                             LYGU6136580/HSR210539
6                            L YGU6136677/HSR210559
                             LYGU6136471/HSR210540
7                            L YGU6136846/002371
8                            L YGU6136738/HSR210531
                             LYGU6137138//HSR210560
9                            LYGU6136574 HSR210551
                             LYGU6137565/HSR210532
10
                             L YGU6136511/HSR210533
11                           LYGU6137518/HSR210537
                             CICU2269166/HSR210535
12                           CICU2269124/HSR210536
13                           CICU2269150/HSR210534
                             CICU2269145/HSR212941
14                           L YGU6136635/HSR210538
15
      HSRNGB2021030019       TDLU6233910/HSR212989         26,423 cartons of
                             TDLU6233930/HSR212985         blenders,    mixers,
16
                                                           and steam irons
                             TDLU6233967/HSR212982
                             TDLU6234238/HSR210303
17
                             TDLU6234264/HSR212987
18                           TDLU6234304/HSR212983
                             TDLU6234407/HSR210310
19                           TDLU6235131/HSR212990
20    HSRNGB2021030020       LYGU6136173/HSR212981         6,390 cartons of
21                           LYGU6136954/HSR212988         toasters and toaster
                                                           ovens
                             LYGU6136300/HSR212984
22                           LYGU6137544/HSR212986
23
                             MCCU3034421/HSR210305

24    HSRNGB2021030104       NYTU2102840/HSR210270         1,347 cartons of air
                             MCCU3034334/HSR210261         compressors
25
      HSRNGB2021030105       NYTU2103024/HSR210309         301       cartons     of
26                                                         faucets, s/s lavatory
                                                           fittings, valves, towel
27                                                         holders,         paper
                                                           holders, and wash
28                                                         machine           outlet
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                                   VERIFIED COMPLAINT
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1     Bill of Lading            Container                        Description       of
                                                                 goods
2                                                                boxes with valves
3     HSRNGB2021030108          TDLU6234449/HSR212976            555     cartons   of
                                TDLU6234140/HSR212978            chairs,     benches,
4                               TDLU6234412/HSR212971            coffee tables, and
                                                                 sofas
5     HSRNGB2021030117                                           100      bags     of
                                TEMU3494746/HSR212999
                                TEMU5990318/HSR212993            pigments
6
                                TGHU1561960/HSR212998
7                               TEMU4688453/HSR213000
8     RSRNGB2021030116                                           120     bags        of
                                BBTU8677439/HSR212995
                                CSLU1137860/HSR212996            pigments
9
                                HJLU1197790/HSR212997
10                              HJLU1350173/HSR212991
11                              TEMU3498274/HSR212994
                                TEMU4452112/HSR212992
12

13         13.    HSIN was the carrier of the AIT Containers and the Cathay
14   Containers, pursuant to the bills of lading. See Exh. 1 and Exh. 2.
15         14.    HSIN USA is the agent for HSIN in the United States (HSIN and
16   HSIN USA hereafter collectively, “Defendants”)
17         15.    AIT and Cathay did not book the carriage of the AIT Containers or
18   the Cathay Containers with HSIN, but booked via a booking agent in China. At
19   the time of booking, the agent never advised AIT or Cathay of any potential
20   additional charges for berthing, terminal handling charges or storage, all of which
21   were included in the freight charge, which was prepaid by Plaintiffs.
22         16.    On or about October 7, 2021, the AIT Containers and the Cathay
23   Containers, loaded with Plaintiffs’ Cargo, were shipped aboard the Vessel
24   pursuant to the bills of lading. Exhs. 1 and 2.
25         17.    AIT and Cathay prepaid all freight due and owing, as indicated in
26   the bills of lading. Exhs. 1 and 2.
27

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                                       VERIFIED COMPLAINT
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1          18.       The Vessel berthed at the Port of Los Angeles, California on or
2    about March 11, 2022, over 100 days after its intended arrival, due to no fault of
3    AIT or Cathay.
4          19.       The AIT Containers and Cathay Containers were discharged from
5    the Vessel at the Port of Los Angeles, California on or about March 12, 2022.
6          20.       Plaintiffs paid the full purchase price for the Cargo, as evidenced by
7    the “telex release” notifications on the bills of lading, such that the Cargo can be
8    released into the immediate possession of Plaintiffs. Exhs. 1 and 2.
9          21.       As of March 22, 2022, after numerous attempts to contact HSIN and
10   other Vessel interests, the Containers had not been released to Plaintiffs, despite
11   AIT and Cathay’s readiness to receive them.
12         22.       On March 23, 2022, head owners of the Vessel advised that the AIT
13   Containers and Cathay Containers had been released to HSIN. Further, upon
14   information and belief, head owners were pursuing a claim against HSIN in the
15   amount of about $7 million.
16         23.       On March 24, 2022, HSIN advised that it would require an additional
17   payment of $18,500 per container to release the AIT Containers and Cathay
18   Containers. HSIN claimed that the additional payment was for berthing, terminal
19   handling charges and a storage fee.
20         24.       Plaintiffs have never agreed to pay additional charges for berthing,
21   terminal handling, or storage.
22         25.       The AIT Containers and Cathay Containers remain in storage in or
23   near the Port of Los Angeles.
24                                          COUNT I
25               Rule D Possessory and Petitory Claim for Cargo Laden
26                             in Intermodal Marine Containers
27         26.       Plaintiffs repeat and re-allege paragraphs 1 through 25 as if fully set
28   forth herein.
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                                         VERIFIED COMPLAINT
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1           27.    A controversy has arisen regarding Plaintiffs’ immediate right to
2    possession of the Cargo.
3           28.    Plaintiffs are the lawful consignees of the AIT Containers and
4    Cathay Containers and have fulfilled all obligations on their part to be performed.
5           29.    The Cargo, loaded in the containers, is currently in Defendants’
6    possession and control and is being stored, on information and belief, in or near
7    the Port of Los Angeles at 168 Cannery Street, San Pedro, CA 90731, in
8    unknown condition. Despite repeated requests, Defendants refuse to release the
9    AIT Containers and Cathay Containers to Plaintiffs as required by law and by the
10   bills of lading.
11          30.    Pursuant to Rule D of the Supplemental Rules of Civil Procedure for
12   Admiralty or Maritime Claims and Asset Forfeiture Actions, Plaintiffs are entitled
13   to bring an action for possession of the Cargo.
14          31.    Plaintiffs have paid for the Cargo and telex releases evidencing
15   payment have been issued. Plaintiffs therefore hold title to the Cargo and have
16   the right to possession of the Cargo.
17          32.    Further, because Plaintiffs prepaid all freight for the Cargo, in full,
18   and never agreed to pay additional charges for berthing, terminal handling, or
19   storage, Plaintiffs have fully satisfied the bill of lading contracts and are entitled
20   to immediate possession. Defendants’ claimed charges for berthing, terminal
21   handling charges and a storage fee were false, upon information and belief.
22   HSIN’s own delay in locating a berth for the Vessel is the cause of its own
23   financial hardship and is in no way attributable to AIT or Cathay.
24          33.    Defendants continue to hold the AIT Containers and Cathay
25   Containers unlawfully, to the detriment of plaintiffs, as the goods contained
26   therein are not being delivered to destination, causing damage to Plaintiff.
27   Defendants do not hold either legal title or a possessory interest in the Cargo.
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                                       VERIFIED COMPLAINT
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1          34.       Plaintiffs request an immediate order from this Court declaring their
2    right to recover possession of the Cargo, and ordering that Defendants release
3    the Cargo into Plaintiffs’ possession.
4                                           COUNT II
5                                          Conversion
6          35.       Plaintiffs repeat and re-allege paragraphs 1 through 25 as if fully set
7    forth herein.
8          36.       Plaintiffs are the consignees and rightful receivers of the AIT
9    Containers and Cathay Containers and have the unconditional right to take
10   possession of the AIT Containers and Cathay Containers.
11         37.       AIT and Cathay demanded the release of the AIT Containers and
12   Cathay Containers by defendants. See Exh. 3.
13         38.       Defendants rejected Plaintiffs’ demand for release of the AIT
14   Containers and Cathay Containers. See Exh. 4.
15         39.       Defendants have unlawfully and intentionally exercised dominion
16   and control over the AIT Containers and Cathay Containers without
17   authorization.
18         40.       As a result of the foregoing, Plaintiffs have suffered damages in
19   excess of $1 million for the goods loaded in the AIT Containers and Cathay
20   Containers.
21                                          COUNT III
22                                     Breach of Contract
23         41.       Plaintiffs repeat and re-allege paragraphs 1 through 25 as if fully set
24   forth herein.
25         42.       Defendants issued bills of lading for the AIT Containers and Cathay
26   Containers. Exh. 1 and 2.
27

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                                         VERIFIED COMPLAINT
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1           43.   Pursuant to the bills of lading, defendants agreed to deliver the AIT
2    Containers and Cathay Containers to plaintiffs in exchange for payment of
3    freight.
4           44.   Plaintiffs paid all freight charges and otherwise performed all duties
5    and responsibilities required of them under the bills of lading.
6           45.   Defendants have refused to deliver the AIT Containers and Cathay
7    Containers to Plaintiffs, in breach of the bills of lading.
8           46.   Plaintiffs bring this action on their own behalf and as agents and
9    trustees, on behalf of and for the interest of all parties who may be or become
10   interested in the AIT Containers and Cathay Containers, as the respective
11   interests may ultimately appear, and Plaintiffs are entitled to maintain this action.
12          47.   By reason of the premises, Plaintiffs have sustained damages in
13   excess of $1 million, plus costs, expenses and interest.
14                                 PRAYER FOR RELIEF
15      WHEREFORE, Plaintiffs pray for relief as follows:
16      As to Count I
17      A. That a Warrant of Arrest in due form or law and according to the practice
18          of this Honorable Court in cases of admiralty and maritime jurisdiction
19          issue against the Cargo laden in the 49 above-identified Containers (39-
20          AIT Containers and 10-Cathay Containers), pursuant to Supplemental
21          Rule D for Admiralty or Maritime Claims and Asset Forfeiture Actions of
22          the Federal Rules of Civil Procedure.
23      B. That the AIT Containers and Cathay Containers be seized when found
24          within this district pursuant to Rules D and E of the Supplemental Rules
25          for Admiralty or Maritime Claims.
26      C. For an order issuing that Plaintiffs are entitled to legal title and possessory
27          rights of the Cargo and for a commensurate order compelling Defendants
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                                        VERIFIED COMPLAINT
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 1         to release the AIT Containers and the Cathay Containers to AIT and
 2         Cathay, respectively.
 3      D. That the Court enter judgment in favor of Plaintiffs and enter an Order
 4         confirming Plaintiffs’ right to possession, allowing the release of the Cargo.
 5      E. That Plaintiffs have such other and further relief as the Court deems just
 6         in the premises, including costs, expenses and attorneys’ fees.
 7      As to Counts II and III
 8      F. That judgment be entered in Plaintiffs’ favor and against Defendants,
 9         jointly and severally, in an amount to be determined at trial, plus costs,
10         expenses and interest.
11      As to all Counts
12      G. That Plaintiffs have such other and further relief as in law and justice they
13         may be entitled to receive, including attorneys’ fees.
14   Dated: April 20, 2022                  Respectfully submitted,
15

16                                           /s/ Neil B. Klein
                                            Neil B. Klein
17
                                            Attorneys for Plaintiffs AIT Worldwide
18                                          Logistics, Inc. and Cathay Industries USA,
                                            Inc.
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                                      VERIFIED COMPLAINT
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  1               VERIFICATION OF AIT WORLDWIDE LOGISTICS, INC.
  2          I, Ryan M. Lanterman                , am an authorized representative of

  3   AIT Worldwide Logistics, Inc., and make this Verification in support of its Verified
  4   Complaint. I have read the foregoing Verified Complaint. I am familiar with the
  5    underlying facts recited in the Verified Complaint and hereby verify that they are
  6   true to the best of my knowledge, except to those matters stated on information
  7   and belief and as to those matters, I believe them to be true.
  8          I declare under penalty of perjury under the laws of the United States of
  9   America that the foregoing is true and correct.
 1O          Executed this 19th day of April 2022, at        Itasca, Illinois, USA

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 12
 13                                              NAME: Ryan M. Lanterman
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                                        VERIFIED COMPLAINT
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 12 of 30 Page ID #:12




  1               VERIFICATION OF CATHAY INDUSTRIES USA INC.
  2         I,   /,itu(l\ Ai dm                 ,   am an authorized representative of
  3   Cathay Industries USA Inc., and make this Verification in support of its Verified
  4   Complaint. I have read the foregoing Verified Complaint. I am familiar with the
  5   underlying facts recited in the Verified Complaint and hereby verify that they are
  6   true to the best of my knowledge, except to those matters stated on information
  7   and belief and as to those matters, I believe them to be true.
  8         I declare under penalty of perjury under the laws of the United States of
  9   America that the foregoing is true and correct.
 10         Executed this   fJ!!:_ day of April 2022, at _ _ _ _ _ _ _ _ _ __
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                                      VERIFIED COMPLAINT
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                              EXHIBIT 1
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 14 of 30 Page ID #:14


                                                                                         LAX030018
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                                             HSRNGB2021030018
   RM 1009-10,RUIFENG INTERNATIONAL BUILDING
   248 YANG SHU PU ROAD
   SHANGHAI,20082,P.R.CHINA

   AIT WORLDWIDE LOGISTICS INC
   7018 ASHLAND AVE BAYS 9 & 10 FOLCROFT,PA 19032
   OFFICE: +1(610) 583-7191 X3721
   EMAIL: PHLINTERNATIONAL@AITWORLDWIDE.COM
   MSC CODE: US127586


   SAME AS CONSIGNEE




     NOMADIC MILDE/HSR03                     NINGBO


     LOS ANGELES,CA                         LOS ANGELES,CA



      N/M                          10400 CARTONS                       CERAMIC BOWLS           343376 KGS        1360 CBM


   CICU2267693/ HSR210554/ 40H Q/ 520/ 17,168. 800/ 68.000
   LYGU6136595/ HSR210555/40HQ/520/ 17,168.800/ 68.000
   LYGU6136023/ HSR210553/40HQ/520/ 17, 168.800/ 68.000
   LYGU6136450/ HSR210557/40HQ/520/ 17,168.800/ 68.000
   LYGU6136698/ HSR210556/40HQ/520/ 17,168.800/ 68.000
   LYGU6136580/ HSR210539/40HQ/520/17,168.800/68.000
   LYGU6136677/HSR210559/40HQ/520/ 17,168.800/ 68.000
   LYGU6136471/ HSR210540/40HQ/520/ 17,168.800/ 68.000
   LYGU6136846/ 002371/40HQ/520/ 17, 168.800/ 68. 000
   LYGU6136738/HSR210531/40HQ/520/ 17,168.800/ 68.000
   LYGU6137138/ HSR210560/ 40HQ/520/ 17, 168.800/ 68.000
                                                                                              rrFLr - RFlS \~:E
   LYGU6136574/ HSR210551/40HQ/520/ 17,168.800/ 68.000
   LYGU6137S65/ HSR210532/40HQ/520/ 17,168.800/68.000
   LYGU6136511/HSR210533/ 40HQ/520/17,168.800/68.000
   LYGU6137518/ HSR210537/ 40HQ/520/ 17, 168.800/ 68.000
   CICU2269166/ HSR210535/40HQ/520/ 17,168.800/ 68.000
   CICU2269124/ HSR210536/40HQ/520/ 17,168.800/68.000
   CICU2269150/HSR210534/40HQ/520/17,168.800/ 68.000                                            SHIPPED ON BOARD
   CICU2269145/ HSR212941/ 40H Q/ 520/ lZ, 168. 800/ 68.000   SHIPPER'S LOAD & COUNT & SEAL         2021-10-07
   LYGU6136635/HSR210538/40HQ/520/ 17,168.800/ 68.000
                                                               40'HQx20 CY/CY
                                THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                        FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENFIELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 15 of 30 Page ID #:15


                                                                           LAX030019
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                               HSRNGB2021030019
   RM 1009-10,RUIFENG INTERNATIONAL BUILDING 248 YANG
    SHU PU ROAD
   SHANGHAI,200082,P.R.CHINA TEL:65321317

   AIT WORLDWIDE LOGISTICS INC.
   19901 SOUTH HAMILTON AVENUE
   TORRANCE, UNITED STATES
   MSC CODE: US277200



   SAME AS CONSIGNEE




     NOMADIC MILDE/HSR03          NINGBO


     LOS ANGELES,CA               LOS ANGELES,CA



      N/M                  26423 CARTONS                 BLENDER                97236.72 KGS      523.23 CBM
                                                         MIXER
                                                         STEAM IRON




     TDLU6233910/HSR212989/40HQ/1074/10,310.400/65.810
     TDLU6233930/HSR212985/40HQ/1074/10,310.400/65.810
                                                                             frELf X RELE...\SfJ
     TDLU6233%7/HSR212982/40HQ/3860/13,780.200/67.830
     TDLU6234238/HSR210303/40HQ/4215/13,256.180/65.180
     TDLU6234264/HSR212987/40HQ/4215/13,256.180/65.180
     TDLU6234304/HSR212983/40HQ/4536/11,651.160/60.920
     TDLU6234407/HSR210310/40HQ/3234/ll,416.020/67.320
     TDLU6235131/HSR212990/40HQ/4215/13,256.180/65.810
                                                                                SHIPPED ON BOARD
                                         SHIPPER'S LOAD & COUNT & SEAL
                                                                                     2021-10-07
                                                40'HQx8 CY/CY
                         THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                   FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENFIELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 16 of 30 Page ID #:16


                                                                            LAX030020
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                                HSRNGB2021030020
   RM 1009-10,RUIFENG INTERNATIONAL BUILDING 248 YANG
    SHU PU ROAD
   SHANGHAI,200082,P.R.CHINA TEL:65321317

   AIT WORLDWIDE LOGISTICS INC.
   19901 SOUTH HAMILTON AVENUE
   TORRANCE, UNITED STATES
   MSC CODE: US277200


   SAME AS CONSIGNEE




     NOMADIC MILDE/HSR03          NINGBO


     LOS ANGELES,CA               LOS ANGELES,CA



      N/M                  6390 CARTONS                 TOASTER                  35960.6 KGS       342.32 CBM
                                                        TOASTER OVEN




     LYGU6136173/HSR212981/40HQ/2750/7,150.000/69.740
     LYGU6136954/HSR212988/40HQ/910/7,189.000/69.380
     LYGU6136300/HSR212984/40HQ/910/7,189.000/69.380
     LYGU6137544/HSR212986/40HQ/910/7,216.300/66.910
     MCCU3034421/HSR210305/40HQ/910/7,216.300/66.910


                                                                                 SHIPPED ON BOARD
                                          SHIPPER'S LOAD & COUNT & SEAL
                                                                                      2021-10-07
                                                40'HQx5 CY/CY
                        THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                  FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENAELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 17 of 30 Page ID #:17


                                                                               LAX030104
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                                   HSRNGB2021030104
   ROOM 1009-10, RUIFENG INTERNATIONAL BUILDING
   NO. 248, YANGSHUPU ROAD, SHANGHAI, 200082 CHINA
   TEX: (86)21 65321317 FAX: (86)21 65321299

   AIT WORLDWIDE LOGISTICS INC
   2851 CAMINO DEL RIO SOUTH, SUITE 400
   SAN DIEGO, UNITED STATES
   MSC CODE: US681666



   AIT WORLDWIDE LOGISTICS INC
   2851 CAMINO DEL RIO SOUTH, SUITE 400
   SAN DIEGO, UNITED STATES
   MSC CODE: US681666


     NOMADIC MILDE/HSR03          NINGBO


     LOS ANGELES,CA              LOS ANGELES,CA



      CALIFORNIA AIR       1347 CARTONS                     AIR COMPRESSOR          24773 KGS         100.37 CBM
      TOOLS INC.




     NYTU2102840/HSR210270/20GP/328/9,039.000/30.540
     MCCU3034334/HSR210261/40HQ)1019/15,734.000/69.830




                                                                                    SHIPPED ON BOARD
                                          SHIPPER'S LOAD & COUNT & SEAL
                                                                                         2021-10-07
                                                20'GPx 1 40't!.t'l)'(!Y

                        THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                  FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENFIELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 18 of 30 Page ID #:18


                                                                            LAX030105
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                                HSRNGB2021030105
   ROOM 1009-10, RUIFENG INTERNATIONAL BUILDING
   NO. 248, YANGSHUPU ROAD, SHANGHAI, 200082 CHINA
   TEX: (86)21 65321317 FAX: (86)21 65321299

   AIT WORLDWIDE LOGISTICS INC
   2851 CAMINO DEL RIO SOUTH, SUITE 400
   SAN DIEGO, UNITED STATES
   MSC CODE: US681666



   AIT WORLDWIDE LOGISTICS INC
   2851 CAMINO DEL RIO SOUTH, SUITE 400
   SAN DIEGO, UNITED STATES
   MSC CODE: US681666


     NOMADIC MILDE/HSR03          NINGBO


     LOS ANGELES,CA               LOS ANGELES,CA



      BUILDERZ             301 CARTONS                     FAUCETS               5044 KGS          27.33 CBM
                                                           S/S LAVATORY FITTINGS
                                                           VALVES
                                                           TOWEL HOLDER
                                                           PAPER HOLDER
                                                           WASH MACHINE OUTLET BOX WITH
                                                           VALVES



     NYTU2103024/HSR210309/20GP/301/5,044.000/27.330




                                                                                 SHIPPED ON BOARD
                                          SHIPPER'S LOAD & COUNT & SEAL
                                                                                      2021-10-07
                                                20'GPx l    CY/CY
                        THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                  FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENFIELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 19 of 30 Page ID #:19


                                                                            LAX030108
   AIT WORLDWIDE LOGISTICS(SHANGHAI)COMPANY
   LIMITED                                                                HSRNGB2021030108
   ROOM 1009-10, RUIFENG INTERNATIONAL BUILDING
   NO. 248, YANGSHUPU ROAD, SHANGHAI, 200082 CHINA
   TEX: (86)21 65321317 FAX: (86)21 65321299

   AIT WORLDWIDE LOGISTICS INC
   2851 CAMINO DEL RIO SOUTH, SUITE 400
   SAN DIEGO, UNITED STATES
   OFFICE: +1 (858) 642-0644
   FAX: +1 (858) 642-6707


   SAME AS CONSIGNEE




     NOMADIC MILDE/HSR03          NINGBO


     LOS ANGELES,CA               LOS ANGELES,CA



      N/M                  555 CARTONS                  CHAIR                    8084.25 KGS       199.57 CBM
                                                        BENCH
                                                        COFFEE TABLE
                                                        SOFA




     TDLU6234449/HSR212976/40HQ/240/2,795.000/68.160
                                                                              [_ELEX_RFLE ~kj
     TDLU6234140/HSR212978/40HQ/81/3,229.950/68.889
     TDLU6234412/HSR212971/40HQ/234/2,059.300/62.521




                                                                                 SHIPPED ON BOARD
                                          SHIPPER'S LOAD & COUNT & SEAL
                                                                                      2021-10-07
                                                40'HQx3 CY/CY
                        THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                  FREIGHT PREPAID


      HSIN SILK ROAD SHIPPING USA, INC
      1923 EDENFIELD LN SUGAR LAND, TX 77479
      TEL: 713-922-5819
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 20 of 30 Page ID #:20




                              EXHIBIT 2
                Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 21 of 30 Page ID #:21



                                                                                                                                                                LAXD30117
    .. , ....
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                                                                                                                                                           HSRNGB2021030117




,..
                                                                 100 BAGS                                                                                                767l!O 1<GS                          96 C8M


                    iI                                                                .
                TEM~3494746/HSR212999/2.0GP/40/18,280.000/24.000
                TEMl)5990318/HSR21'2993/20GP/20/19;S00,000/24.000
                TGHl,Jl561960/HSR212998/20GP/20/19;SO(UXX)/24;(l(l()
                TEMW4688453/HSR2l3000/20GP/20/19;S00,000/24:000
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     Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 22 of 30 Page ID #:22
                                                                                   LAX030117
  HUTAI PIGMENT(SHANGHAI)CO.,LTD
  SUITE 901A,9/F CHINACHEM GOLDEN PLAZA                                        HSRNGB2021030117
  77 MODY ROAD,TST EAST
  KOWLOON,HONG KONG
 TEL:852-2n12257 FAX:852-2n16614
CATHAY INDUSTRIES USA INC.
2340 KENYON ROAD
BARTLITT, IL 60103, USA
TEL: 312-233-2311/ 312-233-2305
CONTACT: KAREN PFBFFER
EMAIL: KPFEIFFER@CATHAYINDUSA.COM
AIT WORLDWIDE LOGISTICS- OCEAN IMPORT
701 N. ROHLWING RD, ITASCA, IL 60143, USA
OFFICE: +1 (630)766-8300 / EXT: 6425
CONTACT: EMILY FAULKNER
EMAIL: CHICAGOCHB@AITWORLDWIDE.COM
EMAIL: KPFEIFFER@CATHAYINDUSA.COM
     NOMADIC MILDE/HSR03                NINGBO


     LOS ANGELES,CA                   LOS ANGELES,CA


                                                       PIGMENT OXIDE RED RA13A
                                                       40BAGS/20PlT/18280KGS
  N/M                                                  PIGMENT OXJDE RED F3400G.S                    76780 KGS   96 CBM
                               100 BAGS
                                                       188AGS/9PlT/18090KGS
                                                       PIGMENT OXIDE YB.LOW F5700GS
                                                       2:BAGS/lPLT/141a<GS
                                                       PIGMENT OXIDE BLACK F9330GS
                                                       36BAGS/18PlT/36180KGS
                                                       PIGMENT OXJDE YELLOW F5700GS
                                                       4BAGS/2PLT/2820KGS

                                                       PONO.
                                                       2021-00-32286/33390/33706/34126/32848/34150
                                                       TOTAL 100BAGS IN S<PALLETS
TEMU3494746/HSR212999/20GP/40/18,280.000/24.000        SHJPPER DECl.ARED THAT THIS SH!Pf,ENT
TEMU5990318/HSR212993/20GP/20/19,500.000/24.000        CONTAIIILS SOLID WOOD PACKAGING MATERIALS
TGHU 1561960/HSR212998/20GP/20/19,500.000/24.000
TEMU4688453/HSR213000/20GP/20/19,500.000/24.000
                                                       I
                                                       PCN-31020
                                                       PHT
                                                       C
                                                                                         SHIPPED ON BOARD
                                             SHIPPER'S LOAD & COUNT & SEAL
                                                                                               2021-10-07
                                                   20'GPx4 CY/CY
                             THIS SHIPMENT CONTAINS NO SOLID WOOD PACKING MATERIALS



                      FREGHT PREPAID

   HSIN SILK ROAD SHIPPING USA, INC
   1923 EDENFIELD LN SUGAR LAND, TX 77479
   TEL: 713-922-5819




                                                             ONE(l)
 Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 23 of 30 Page ID #:23



                                                                                                                                                                                                                                                                        LAX030116
    ;'AofAI PIGMENT{SHANGHAI}CO.,LTD
                               1

      SUITE 901A,9/F CHINACHEM GOLDEN PLAZA
                                                                                                                                                                                                                                                                  HSRNGB2021030116
     /7 MODY ROAD,TST EAST
     ;KOWLOON,HONG KONG .
     :TEL:8S2-27212257 FAX:852-27216614
     -':·· ,··, .·· .. · .· .. ·.• .. ·.•.· ..... ···,

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     ;: 'tArl!fAf 1NDusrR1Es USA INc.
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    l; 2340 KENYON ROAD                                                            .
                                                                                                                                                                                                                                                                             HSfff SJU( IOAC: SHWPING
     i BARTLETT, IL 60103,                                                        USA
     1TEL: 312-233-2311/ 312-233-2305
             1


     icoNTACT: KAREN PFEIFFER .
     i Et.Ml"'-~--~®CATtlAm:ou~~CnOM.;:·:; . ·;;,:· ;_                                                                                                                       ~~=·';()~~%=~~((.~~~~~-i

     ~= 'fk~;f~4; iC::fii?~-k                                                                                                                                                                                            ~~
         AITWORLDWIDE LOGISTICS- OCEAN IMPORT
     ;701 N. ROHLWING RD, ITASCA, IL 60143, USA                                                                                                                                                                          ij    :!'!::~:::=~~-iil~~;i;~~!i!W.rffli\\Wi                                                         1111
                                                                                                                                                                                                                                                                                                                                 ·~~.!l!l       ~
    i~:i;;l:~r=~EXf=
    iEMAIL: CHICAGOCHB@AITWORLDWIDE.CCM
                                                                                                                       6425
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                                                            f NINGBO
         ·                                                                                                              ••                                                                                               cc

    ; NOMADIC MILDE/HSR03                                                                   { ,lil.ii!.,!ii'f~
    1:·~·u~;i:~itt,;f#,\L~ .,., ' " ,.,.,,,..,,. •·"""""'='•--tww;~-;;~;;t"-·'··· ~,,,~,-,. tr.,:~-~•,;,•, '"~' . . .~. ,•;tt:OS"''ri;;;i:r.;;;;;;,ltt""'~'''""•·'"·'-'·''·
    :\            LOS ANGELES,CA                                                                                        i     LOS ANGELES,CA                                                                              .                                                                    _
    :.:~t~~:;;~~7~;w-"·······..···~.~~;:~~~;;~~~;j~7~;~•. """'""""'"·•··~. ·'r,~~;~;;it-~~-;;,;-· ·· .,,. .,., · · ~;~~~~~--~'it"'t},.
                                                                                                                                                                                                                                                                                                    84600 KGS                             144 CBM
    t:               N/M                                                                               120 BAGS
                                                                                                                                                                                                         PIGMEITT OXIDE YELLOW F5300GSIP
    1i
    I'
                                                                                                                                                                                                         80BAGS/40PALLETS/56400KGS
     I'
     I                                                                                                                                                                                               . PIGMENT OXIDE YELL~
                                                                                                                                                                                                                        .. · F5300GS
BBTlll8677439/HSR212995/20GP/20/14,100.000/24.000                                                                                                                                                        40BAGS/20PAU~ . . GS..#'\
CSUJ1137860/HSR212996/20GP/20/14,100.000/24.000                                                                                                                                                                                                      (, .,, 'F/
HJLU)197790/HSR212997/20GP/20/14,100.000/24.000.                                                                                                                                                         PO N0.:20~1:-00-~2~2134141                                                            gELEX RELEASij
HJL~135Q173/HSR212991/20GP/20/14J100.000/24.000                                                                                                                                                         TO.If'~1~G\~ fPJ\UEfS                                                                . .-          -
TEMlii3498274/HSR212994/20GP/20/14,100.000/24;000                                                                                                                                                        SH                           llt~_lA!31:D THAT THIS SHIPMENT
TEMY4452112/HSR212992/20GP/20/14,100.000/24.000                                                                                                                                                                                     ·.if.
                                                                                                                                                                                                                                      s"sol'.ID WOOD PACKAGING
                                                                                                                                                                                                                                                         ..



                                                                                                                                                                                                                                                                                     SHIPPED ON BOARD
                                                                                                                                                                                                                                                                                                    2.021-10-07
                                                                                                                                                       SHlPPER'S LOAD &. COUNT & SEAL
                                                                                                                                                                                     20'GPx6 Ci/CT
                                                                                           nus SHIPMENTCONTAI     ·souo WOOD
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    ·•                                             .                   FREIGHT PREPAID                                                                                                                                           - ~ - ~~hl!td&wt~.-. t.-ai!! ~-~
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    ;::~jJ;(;;;~.;:;•''""'"'''"''"'''"•·, ,;;·~c,m,,,..,..,,,_,.,. •,,
    :i:
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    ..              HSIN. SILK ROAD SHIPPING USA, lNC                                                                                                                                                                         ~~,;,_,.,,._,..,~;;•;o•»•H•7•.,,.,,--.:.~~t,;;;~:.-...,1.;~!~...-._••;..:.~•..;:,........,::·;,~,>.;;.L.;,;,,;,:i,;,-;;;::;~~o:.::;:
                    1923 EDENFIELD LN SUGAR LAND, 1X 77479                                                                                                                                                                       ~J~~~t~l)!•Nt~~
                    TEL: 713-922-5819




    i'                                                    .                                                                                                              .

    : ; ,.,,;.....::.:.:iM,~.;::;,.;.:,.;..; :! ~-: ~'. :., ~: .·-;: ~- ;-;-.;;i;r;.+l'!;,..:;;;..:;~!F0::::.~~*'!!'¥,i::3;ro;.lllo!;!i,o;•:::~~~:·-::;-:-:-r~~~*i:i,~ -~~~-i:M    1 •. . . .   • '.' • "f' )II 'l   ~
Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 24 of 30 Page ID #:24




                              EXHIBIT 3
         Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 25 of 30 Page ID #:25

                                                                                                                                N EW YORK
                                ZEILER
ZFZ
                                                                                                                                     VIENNA

                                FLOYD                                                                                             LONDON
                                                                                                                                 CHICAGO
                                ZADKOVICH                                                                                       HOUSTON
                                                                                                                                   SYDN EY




            BY EMAIL

            HSIN Silk Road Shipping, USA Inc.
            1923 Edenfield Lane
            Sugarland, Texas 77479
            george@hsinship.com
            cece@hsinship.com
            angela@hsinship.com
            hsinsilkroad@gmail.com



                                                                                                                            April 1, 2022
                                                                                                                           Matter No. US385
Timothy S. McGovern                                URGENT
Partner | Attorney at Law
tim.mcgovern@zeilerfloydzad.com
                                                   RE: Cargo discharged from M/V Nomadic Milde (HSR03)
mobile:   +1 312 545 4994                          Bills of lading nos. HSRNGB2021030018
landline: +1 708 320 0010                                               HSRNGB2021030019
                                                                        HSRNGB2021030020
                                                                        HSRNGB2021030104
                                                                        HSRNGB2021030105
                                                                        HSRNGB2021030108

                                                   Dear Sir/Madam:

                                                   We represent AIT Worldwide Logistics (“AIT”). As you are aware, certain contain-
                                                   ers were loaded aboard the M/V NOMADIC MILDE on or about October 7, 2021,
                                                   at Ningbo, Peoples Republic of China for shipment to Long Beach, California, pur-
                                                   suant to relevant ocean bills of lading identified herein. AIT is the consignee and
                                                   notify party on those bills of lading. The shipments have been delayed by over six
                                                   months through no fault of AIT. AIT has now received Notices of Arrival for the
                                                   shipments. AIT has also been informed that HSIN Silk Road Shipping (“HSIN”) has
                                                   refused to release the shipments, claiming it is entitled to additional payment in
                                                   breach of the relevant bills of lading and the agreements of parties involved. AIT
                                                   has paid all freight and other costs due. It has no additional contractual obligations
                                                   or duties under the law that require it to make any additional payment.

                                                   We demand that HSIN immediately withdraw its request for any additional pay-
                                                   ment and release the containers and cargo identified on the following bills of lad-
                                                   ing to AIT, its representatives and/or agents without further delay:



Zeiler Floyd Zadkovich (US) LLP
500 West Madison Street, 10th Floor, Chicago, Illinois, 60661 USA
                                                                                                                ONE GLOBAL TEAM.
Zeiler Floyd Zadkovich (US) LLP is a limited liability partnership established in the State of New York,        FOCUSED ON WHAT YOU DO.
advising only on laws of the United States of America. Zeiler Floyd Zadkovich (US) LLP is a member
firm of Zeiler Floyd Zadkovich (a Swiss Verein). Each member of the Swiss Verein is separately insured
                                                                                                                zeilerfloydzad.com
and practices law independently of other member firms.
The Swiss Verein does not provide any legal services.
 Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 26 of 30 Page ID #:26

         ZEILER                                                                                         NEW YORK


ZFZ      FLOYD
         ZADKOVICH
                                                                                                              VIENNA
                                                                                                          LONDON
                                                                                                         CHICAGO
                                                                                                        HOUSTON
                                                                                                              SYDNEY




             -   HSRNGB2021030018
             -   HSRNGB2021030019
             -   HSRNGB2021030020
             -   HSRNGB2021030104
             -   HSRNGB2021030105
             -   HSRNGB2021030108

         Kindly acknowledge receipt and agreement to the foregoing via return email before 5:00 p.m. (CST)
         on April 4, 2022. Failing receipt of your response and agreement, we will take such actions as are
         deemed appropriate and necessary to protect our rights. This demand is without prejudice to any of
         AIT’s claims, rights, causes of action, theories of liability, and arguments, all of which are expressly
         reserved.

         Yours faithfully,

         Zeiler Floyd Zadkovich (US) LLP



         By:_____________________________
            Timothy S. McGovern




                                                                                         ONE GLOBAL TEAM.
                                                                                         FOCUSED ON WHAT YOU DO.


                                                                                         zeilerfloydzad.com
                                              2 | 2
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                              EXHIBIT 4
       Case 2:22-cv-02630-PA-JC Document 1 Filed 04/20/22 Page 28 of 30 Page ID #:28




From: 沈海丹 <shd@hsinship.com>
Sent: Wednesday, April 6, 2022 4:12 PM
To: Timothy S. McGovern <tim.mcgovern@zeilerfloydzad.com>; HSLHK <info@hsinship.com>; George Hou
<george@hsinship.com>; Angela Xu <angela@hsinship.com>; hsinsilkroad@gmail.com
Cc: Eva‐Maria Mayer <eva.mayer@zeilerfloydzad.com>
Subject: 回复:RE: 回复:Re: FW: MV Nomadic Milde (HSR03) ‐ AIT Worldwide Logistics

no

‐‐‐‐‐‐‐‐‐‐‐‐‐‐原始邮件‐‐‐‐‐‐‐‐‐‐‐‐‐‐
发件人："Timothy S. McGovern "<tim.mcgovern@zeilerfloydzad.com>;
发送时间：2022年4月7日(星期四) 凌晨3:58
收件人："沈海丹" <shd@hsinship.com>;"HSLHK" <info@hsinship.com>;"George Hou"
<george@hsinship.com>;"Angela Xu" <angela@hsinship.com>;"hsinsilkroad@gmail.com" <hsinsilkroad@gmail.com>;
抄送："Eva‐Maria Mayer "<eva.mayer@zeilerfloydzad.com>;
主题：RE: 回复:Re: FW: MV Nomadic Milde (HSR03) ‐ AIT Worldwide Logistics
‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐‐
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* {}.qmbox .shape {}.qmbox !‐‐ @font‐face {font‐family:"MS Gothic"; panose‐1:2 11 6 9 7 2 5 8 2 4;} @font‐face {font‐
family:"Cambria Math"; panose‐1:2 4 5 3 5 4 6 3 2 4;} @font‐face {font‐family:Calibri; panose‐1:2 15 5 2 2 2 4 3 2 4;}
@font‐face {font‐family:Verdana; panose‐1:2 11 6 4 3 5 4 4 2 4;} @font‐face {font‐family:"Segoe UI Emoji"; panose‐1:2
11 5 2 4 2 4 2 2 3;} @font‐face {font‐family:"Microsoft JhengHei"; panose‐1:2 11 6 4 3 5 4 4 2 4;} @font‐face {font‐
family:"@Microsoft JhengHei";} @font‐face {font‐family:"@MS Gothic"; panose‐1:2 11 6 9 7 2 5 8 2 4;} @font‐face {font‐
family:Tahoma; panose‐1:2 11 6 4 3 5 4 4 2 4;} /* Style Definitions */ .qmbox p.MsoNormal, .qmbox li.MsoNormal,
.qmbox div.MsoNormal {margin:0in; font‐size:11.0pt; font‐family:"Calibri",sans‐serif;} .qmbox a:link, .qmbox
span.MsoHyperlink {mso‐style‐priority:99; color:blue; text‐decoration:underline;} .qmbox span.EmailStyle19 {mso‐style‐
type:personal‐reply; font‐family:"Calibri",sans‐serif; color:windowtext;} .qmbox .MsoChpDefault {mso‐style‐type:export‐
only; font‐family:"Calibri",sans‐serif;} @page WordSection1 {size:8.5in 11.0in; margin:1.0in 1.0in 1.0in 1.0in;} .qmbox
div.WordSection1 {page:WordSection1;}

Dear Mr. Shen,亲爱的沈先生，




I am an attorney for AIT Worldwide Logistics. Further, I represent Cathay Industries USA. I will make this simple for you.
Confirm your agreement to immediately release the containers (and cargo) for the following bills of lading and without
the unlawful additional charges you have presented:我是AIT Worldwide Logistics的律师。此外，我代表美国国泰工业
公司。我会为你简化这个。确认您同意立即放行以下提单的集装箱（和货物），并且没有您提出的非法额外费用
：

                                   HSRNGB2021030018

                                                                 HSRNGB2021030019

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                                                                  HSRNGB2021030020

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                                                                  HSRNGB2021030108

                                      HSRN断续器GB2021030117

                                       NNSHNOMILV21098 (HSIN file no.
        HSRNGB2021030116)                                  NNSHNOMILV21098 （HSIN 文件编号.HSRNGB2021030116）




My clients will then obtain the containers and the matter will be finished. 然后，我的客户将获得容器，事情将完成。




If you do not agree, we will be filing legal proceedings and obtain the cargo via legal channels and you will incur legal
costs. Further we will ask the court to award the damages suffered by AIT and Cathay, plus our attorney fees, costs and
interest. 如果您不同意，我们将提起法律诉讼并通过合法渠道获取货物，您将承担法律费用。此外，我们将要求
法院裁定AIT和国泰航空遭受的损害赔偿，加上我们的律师费，成本和利息。




This email is without prejudice to any claims, rights, causes of action, theories of liability, and arguments of AIT or
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—
Timothy S. McGovern蒂莫西∙麦戈文

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